Case 1:18-cv-02519-RBK-KMW Document 20 Filed 08/16/19 Page 1 of 6 PageID: 116



                                        August 6,2019


TO:           Mr. William T. Walsh, Clerk
             United States District Court for
                                                                    RECEIVED
              the District of New Jersey
              401 East State Street                                         AUG 15 2019
              Trenton, New Jersey, 08608                            AT 8:30
                                                                        WILL--.;IA;--:-:M:-::T::--.W-A-LS_H__ M
                                                                                   CLERK
 FROM:        Darius Heimer Gittens, Pro Se
              SBI #875223E, ID #1079439
              Northern State Prison
              168 Frontage Road
               Newark , New Jersey , 07114



 RE:          Gittens~ Scholtz, et al., 1:18-cv- 02519 (RBI) (IMW)
              motion with (4) page certified affidavit in support
              plaintiff's request for reconsideration dated 8/6/2019



          Dear Sir:



          Please find    attached original of my motion for reconsideration with
 (4)     page certified affidavit in support (with return date of 8/19/2019),
 for filing. Please acknowledge receipt .



          Also please find a copy of letter sent to Ms . Golub , Judge Kugler ' s
 Judicial Assistant concerning service to chambers of the required courtesy
 copy .


          Respectfully Submitted .



                                     Darius Heimer Gittens


 FILE : D. H. Gittens
           Levi Huebner , PC
Case 1:18-cv-02519-RBK-KMW Document 20 Filed 08/16/19 Page 2 of 6 PageID: 117



TO:        Ms. Marcy Golub, Judicial Assistant
            for Honorable Robert B. Kugler, U.S . D. J.
                                chambers --------------
           Room 640 , United States District Court
            for the District of New Jersey
             P . O. Box 2797, Camden, New Jersey
                                             08101


FROM:       Darius Heimer Gittens, Pro Se
            SBI #875223E, ID #1079439
            Northern State Prison
            168 Frontage Road
             Newark, New Jersey, 07114


RE:         Gittens L_ Scholtz , et al., l:18-cv- 02519 (RBK) (KMW)
            c o u r t e s y      copy of motion and certified affidavit
            with proposed order seeking reconsideration



        Dear Ms. Golub:



        Please find attached herewith, a courtesy copy of notice of motion with
 4)   page certified affidavit in support thereof dated 8/6/2019 filed with
 you as required pursuant FRCP local Rule 7 .1. {g). with the original filed
 with the Clerk of the Court th:is same day .               Please file as is your custom
 and provide to me notice that you have received this submission.



        You may acknowledge receipt of these papers via my e-mail address that
 is maintained     by my durable power of attorney:              gittens.darius@gmail.com.



        Thank you kindly .                         Respectfully yours



                                  Darius Hei/4er Gittens
                                   Dated:   <a _~/,;le /7
 FILE: D.H. Gittens
         William T. Walsh, Clerkj
Case 1:18-cv-02519-RBK-KMW Document 20 Filed 08/16/19 Page 3 of 6 PageID: 118

                                                                  RECEIVED
                              UNITED STATES DISTRICT COURT
                                                                        AUG 1 ~ 2019
                             FOR THE DISTRICT OF NEW JERSEY
                                                                     AT 8:30 _ _ _ _ _ M
                                                                         WILLIAM T. WALSH
                                                                              CLERK

Darius Gittens,                                       CIVIL ACTION

    Plaintiff,                                   NO. 18-02519 (RBI) (IMW)

        V.

Mildred Scholtz, et al . ,
                                                         ORDER
    Defendants.




     This matter having come before the court by way plaintiff ' s motion for
reconsideration of my prior order and opinion in the initial screening of
his civil rights complaint pursuant 42 U.S.C. § 1983 (ECF No . 1) and upon
review of the submission of plaintiff of notice of motion for reconsideration
and (4) page certified affidavit in support thereof dated 8/6/2019, and for
the reasons set forth in the opinion filed herewith,


     IT IS on this _ _ day of August, 2019, hereby


     ORDERED that counts        J , L, and N, and counts B and E, and counts H,
I and 0, and counts D, F, L, Mand P           are RESTORED to the complaint and it
is further


     ORDERED that the Clerk of the Court shall serve Plaintiff with copies
of this Order and the accompanying Opinion via regular U. S. mail.



                                            Robert B. Kugler
                                            United States District Judge
Case 1:18-cv-02519-RBK-KMW Document 20 Filed 08/16/19 Page 4 of 6 PageID: 119



                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY


Darius Gittens,                                            CIVIL ACTION

      Plaintiff,                                   NO. 18-02519 (RBI) (IMW)

              V.                                       NOTICE OF MOTION
                                                     FOR RECONSIDERATION
  Mildred Scholtz, et al.,
                                                             EX PARTE
      Defendants.



      Please take notice that Darius Gittens, plaintiff, prose, in the above
 captioned civil action,          hereby gives NOTICE to honorable Judge Robert B.
 Kugler ,    that    pursuant FRCP Local Civil Rule 7 .1        {i),    that a Motion for
 Reconsideration of his Honor's July 23, 2019 ORDER and OPINION             is made.


       And, that this NOTICE is made returnable as per Local Civil Rule 78.1
 (a), so that it falls on the Third Monday of this month of August which is
 August 19 , 2019 .


DATED=      fi../J;; /4..o 'i
       Respectfully Submitted.




                                    Darius Heimer Gittens
                                  SBI # 875223E, ID# 1079439
                                     Northern State Prison
                                       168 Frontage Road
                                    Newark, New Jersey, 07114
Case 1:18-cv-02519-RBK-KMW Document 20 Filed 08/16/19 Page 5 of 6 PageID: 120


                                         UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF NEW JERSEY



  Darius Gittens,                                                        CIVIL ACTION


          Plaintiff,                                               NO. 18-2519 (RBK) (KMW)


                V.                                            CERTIFIED AFFIDAVIT IN SUPPORT
                                                              OF MOTION FOR RECONSIDERATION
   Mildred Scholtz, et al.,
                                                                           EX PARTE
          Defendants .



          (1)        Darius    Gittens,      certifies    pursuant    28      USC   1746    the    forgoing
   affidavit for reconsideration of Judge Robert B. Kugler ' s July 29,2019 opinion
   and Order in the above captioned matter to be true and correct to my own
   knowledge,


          (2)        That     this      affidavit    addresses     the     (22)     page     opinion     and
   corresponding (3)           page order both dated 7/23/2019                 that were entered and
   filed by the clerk on 7/29/2019 and mailed to plaintiff that same day.



          (3)        At page 7 and 8 of Honorable Judge Kuglar' s Opinion would appear
   to gloss over the allegations of certain of the defendants that are alleged
   to have destroyed            documents and united states mail in order to obstruct
   plaintiff's efforts             to    reach New Jersey Appellate Court review,                  O. P.R . A.
   records access ,           as well as grievance access inter alia.                   Plaintiff urges
   this Honorable Court not to suggest that the destruction of United States
   Mail    and        grievances        cannot   implicate    plaintiff ' s     First      and    Fourteenth
   Amendment rights secured by the United States Constitution; to sidestep this
   matter sends very bad signals to these defendants that will embolden this
   obstruction and destruction of other                  similarly situated inmates united states
   mail and grievances.              This Court should allow defendants to defend that aspect
   of the complaint on the merit .



                                                     Page 1
                       Case 1:18-cv-02519-RBK-KMW Document 20 Filed 08/16/19 Page 6 of 6 PageID: 121




Darius Heimer Gittens
Housing Unit B- 1-E                                                     -ix:P:.l -DANIELS
                                                                                                                                                 FLRST~LASS MAIL
SBI#875223E , Iu#l079439                                                ·: Nt:1070                             NEOPOST
                                                                                                                                           ,,
Northern State Prison                                                   l !:f< _A t)(; '.\ ·1 9                 08/08/2019
                                                                                                                                           $000.65Q'
168 Front~ge Road                                                       :W'M 10!.
                                                                                                            ·- US POSTAGE
 Newark, New Jersey
               07114                                                                                            :'.ttt-~,;g:
                                                                                                                ~
                                                                                                                        :,! .,X:                    -,,r"""l. n~A . -
                                                                                                                                                    Lit-' UI I l't-
                                                                                                                                                041 M11454838



                                                 M~a:1:_
                                           William T. Walsh , Clerk
                                                             ·rict Court
                                            D~ric~ \ 01/ w Jersey
                                                o~ . \F"\s er Federal
                                         BTIITITng and United States
                                                  Court House
                                         401 E. State Street , Trenton
                                                     New Jersey, 08608
LEGAL MAIL

      .
      ~~



                                      ,_,t:Jt:,:i_i·Et-1 ~i_i 1 :_: 1             I' 1,1, 11,1, 11111 l• 1l1' •Ill 1l 11 ,111,, .111111 •' 1•l 111 Iii I •1!ltl\td~.:-._
